 Case 1:23-cv-11195-SHS-OTW      Document 474   Filed 03/18/25   Page 1 of 13




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



THE NEW YORK TIMES COMPANY,
                   Plaintiff,              Civil Action No. 1:23-cv-11195 (SHS) (OTW)

                    v.
MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC, OPENAI
GLOBAL LLC, OAI CORPORATION, LLC,
and OPENAI HOLDINGS, LLC,

                   Defendants.

DAILY NEWS, LP, et al.,
                   Plaintiffs,             Civil Action No. 1:24-cv-3285 (SHS) (OTW)

                    v.
MICROSOFT CORPORATION, et al.,

                   Defendants.

THE CENTER FOR INVESTIGATIVE
REPORTING, INC.,
                                           Civil Action No. 1:24-cv-4872 (SHS) (OTW)
                   Plaintiffs,

                    v.
OPENAI, INC., OPENAI GP, LLC, OPENAI,
LLC, OPENAI OPCO LLC, OPENAI GLOBAL
LLC, OAI CORPORATION, LLC, OPENAI
HOLDINGS, LLC, and MICROSOFT
CORPORATION,

                   Defendants.



         STIPULATION AND ORDER REGARDING PROTECTIVE ORDER
  Case 1:23-cv-11195-SHS-OTW               Document 474           Filed 03/18/25    Page 2 of 13




       WHEREAS, the parties previously agreed that the Stipulated Protective Order entered in

the case brought by The New York Daily News (ECF 129, No. 1:24-cv-03285-SHS-OTW) (“Daily

News Case”) rather than the Stipulated Protective Order originally entered in the case brought The

New York Times Company (ECF 127, No. 1:23-cv-11195-SHS-OTW) (“The New York Times

Case”) will govern both the Daily News Case and The New York Times Case (ECF 303, No. 1:23-

cv-11195-SHS-OTW).

       WHEREAS, the parties now agree that the Stipulated Protective Order entered in the Daily

News Case (ECF 129, No. 1:24-cv-03285-SHS-OTW) will also govern the case brought by The

Center for Investigative Reporting, No. 1:23-cv-4872-SHS-OTW (“CIR Case”), rather than the

Stipulated Protective Order originally entered in the CIR Case (ECF No. 129, No. 1:23-cv-4872-

SHS-OTW).

       WHEREAS,        the    parties   have   agreed   that      materials   designated   “HIGHLY

CONFIDENTIAL – SOURCE CODE” shall be subject to the terms in the Stipulated Source Code

Order filed at Dkt. 252 in The New York Times action, Case No. 23-cv-11195.

       WHEREAS, Microsoft and the Daily News Plaintiffs have agreed to a modification to

Paragraph 14 of the Stipulated Protective Order (ECF 129, No. 1:24-cv-03285-SHS-OTW), as set

forth in more detail below.

       WHEREAS, the parties have also reached agreement to modify the Stipulated Protective

Order (ECF 129, No. 1:24-cv-03285-SHS-OTW) to include an additional “Outside Counsel Only”

confidentiality designation, as set forth in more detail below.

       THEREFORE, the Parties, through counsel, agree as follows:

       1.      All parties agree that the Stipulated Protective Order previously entered in the Daily

News Case (ECF 129, No. 1:24-cv-03285-SHS-OTW) will govern these consolidated proceedings.



                                                 1
   Case 1:23-cv-11195-SHS-OTW              Document 474         Filed 03/18/25     Page 3 of 13




       2.      The parties request that the Court modify the Stipulated Protective Order (ECF 129,

No. 1:24-cv-03285-SHS-OTW) to clarify that materials designated “HIGHLY CONFIDENTIAL

– SOURCE CODE” shall be subject to the terms in the Stipulated Source Code Order filed at Dkt.

252 in The New York Times action, Case No. 23-cv-11195.

       3.       The parties request that the Court enter the following modifications to Paragraph

14 of the Stipulated Protective Order (ECF 129, No. 1:24-cv-03285-SHS-OTW), as reflected in

the underlined, red text.

       14.     No person subject to this Protective Order other than the producing party shall

               disclose any of the Discovery Material designated by the producing party as

               “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY

               CONFIDENTIAL – SOURCE CODE” to any other person whomsoever, except to:

               (a)     the recipient’s outside counsel of record in this action, as well as employees

                       of said outside counsel of record to whom it is reasonably necessary to

                       disclose the information for this litigation;

               (b)     Except as otherwise provided in subparagraphs (i) and (ii) or in this

                       subparagraph (b), designated inhouse counsel of the recipient to whom

                       disclosure is reasonably necessary for this litigation, provided such person

                       has first executed an Undertaking to be Bound by Protective Order in the

                       form annexed as an Exhibit hereto. Within 30 days of the entry of this

                       Protective Order, a receiving party may designate by name, in writing, up

                       to five (5) in-house attorneys who are permitted to view materials

                       designated “HIGHLY CONFIDENTIAL–ATTORNEYS’ EYES ONLY,”

                       provided that any attorneys so designated may not have a role through



                                                  2
    Case 1:23-cv-11195-SHS-OTW             Document 474         Filed 03/18/25      Page 4 of 13




                       which they could use such materials to engage in Competitive or Editorial

                       Decision-Making.1      In addition to the foregoing, and with respect to

                       materials designated as HIGHLY CONFIDENTIAL—ATTORNEYS’

                       EYES ONLY by Microsoft, the following individuals designated by The

                       Times—A.G. Sulzberger, Meredith Levien, Diane Brayton, and Rebecca

                       Grossman-Cohen, so long as (1) those documents do not relate to actual or

                       potential licensing/data access agreements or negotiations regarding such

                       agreements, and (2) each of these individuals executes an Undertaking to

                       be Bound by Protective Order in the form annexed as an Exhibit hereto. In

                       addition to the foregoing, and with respect to materials designated as

                       HIGHLY CONFIDENTIAL—ATTORNEYS’ EYES ONLY by Microsoft,

                       the following individual designated by the Daily News Plaintiffs—Frank

                       Pine, so long as (1) those documents do not relate to actual or potential

                       licensing/data access     agreements or negotiations regarding such

                       agreements, and (2) Mr. Pine executes an Undertaking to be Bound by

                       Protective Order in the form annexed as an Exhibit hereto.




1
  “Competitive or Editorial Decision-Making” means the action or process of making a business
or journalistic decision or resolving a non-legal question relating to a competitor, potential
competitor, customer, journalist, opinion writer, editor, video producer, audio producer, or
distribution partner regarding contracts, marketing, pricing, product, service development or
design, product, or service offering, research and development, mergers and acquisitions, or
licensing, acquisition, funding, enforcement of intellectual property, publishing, writing, editing,
broadcasting, or public speaking. It does not include legal advice provided in connection with
litigation, potential litigation, or regulatory matters, nor does it include work performed as part of
a trial team or to keep management advised on the progress or status of litigation, potential
litigation, or regulatory matters.

                                                  3
Case 1:23-cv-11195-SHS-OTW       Document 474          Filed 03/18/25      Page 5 of 13




                        i.   Agreements or draft agreements between a producing party

                             and a third party, as well as documents reflecting

                             negotiations or communications regarding such agreements,

                             may     be   designated    ‘HIGHLY      CONFIDENTIAL          –

                             OUTSIDE COUNSEL’S EYES ONLY.’ In-house counsel

                             of the recipient shall not be permitted to access such

                             information absent explicit written permission from the

                             producing party and the relevant third party.

                       ii.   For the avoidance of doubt, to the extent expert reports cite

                             to materials designated ‘HIGHLY CONFIDENTIAL –

                             OUTSIDE COUNSEL’S EYES ONLY,’ in-house counsel

                             may review those reports so long as such material is

                             redacted. In-house counsel may not access documents

                             designated ‘Outside Counsel Only’ even if such documents

                             are cited in or appended to expert reports.

        (c)   experts of the recipient to whom disclosure is reasonably necessary for this

              litigation, provided such persons have first executed an Undertaking to be

              Bound by Protective Order in the form annexed as an Exhibit hereto;

        (d)   the court and its personnel; court reporters and their staff, professional jury

              or trial consultants, and professional vendors to whom disclosure is

              reasonably necessary for this litigation, provided such persons have first

              executed an Undertaking to be Bound by Protective Order in the form

              annexed as an Exhibit hereto; or



                                          4
  Case 1:23-cv-11195-SHS-OTW         Document 474      Filed 03/18/25     Page 6 of 13




             (e)    the author or recipient of a document containing the information or a

                    custodian or other person who otherwise possessed or knew the

                    information.

SO STIPULATED AND AGREED.

Dated: March 18, 2025                   /s/ Ian Crosby
                                        Ian Crosby (admitted pro hac vice)
                                        Genevieve Vose Wallace (admitted pro hac vice)
                                        Katherine M. Peaslee (admitted pro hac vice)
                                        SUSMAN GODFREY L.L.P.
                                        401 Union Street, Suite 3000
                                        Seattle, WA 98101
                                        Telephone: (206) 516-3880
                                        Facsimile: (206) 516-3883
                                        icrosby@susmangodfrey.com
                                        gwallace@susmangodfrey.com
                                        kpeaslee@susmangodfrey.com
                                        Davida Brook (admitted pro hac vice)
                                        Emily K. Cronin (admitted pro hac vice)
                                        Ellie Dupler (admitted pro hac vice)
                                        SUSMAN GODFREY L.L.P.
                                        1900 Ave of the Stars, Suite 1400
                                        Los Angeles, CA 90067
                                        Telephone: (310) 789-3100
                                        Facsimile: (310) 789-3150
                                        dbrook@susmangodfrey.com
                                        ecronin@susmangodfrey.com
                                        edupler@susmangodfrey.com
                                        Elisha Barron (5036850)
                                        Zachary B. Savage (ZS2668)
                                        Tamar Lusztig (5125174)
                                        Alexander Frawley (5564539)
                                        Eudokia Spanos (5021381)
                                        SUSMAN GODFREY L.L.P.
                                        One Manhattan West, 50th Floor
                                        New York, NY 10001
                                        Telephone: (212) 336-8330
                                        Facsimile: (212) 336-8340
                                        ebarron@susmangodfrey.com
                                        zsavage@susmangodfrey.com
                                        tlusztig@susmangodfrey.com
                                        afrawley@susmangodrey.com
                                        espanos@susmangodfrey.com

                                           5
Case 1:23-cv-11195-SHS-OTW   Document 474    Filed 03/18/25   Page 7 of 13




                               Scarlett Collings (4985602)
                               SUSMAN GODFREY L.L.P.
                               1000 Louisiana, Suite 5100
                               Houston, TX 77002
                               Telephone: (713) 651-9366
                               Facsimile (713) 654-6666
                               scollings@susmangodfrey.com

                               Steven Lieberman (SL8687)
                               Jennifer B. Maisel (5096995)
                               Kristen J. Logan (admitted pro hac vice)
                               ROTHWELL, FIGG, ERNST & MANBECK, P.C.
                               901 New York Avenue, N.W., Suite 900 East
                               Washington, DC 20001
                               Telephone: (202 783-6040
                               Facsimile: (202) 783 6031
                               slieberman@rothwellfigg.com
                               jmaisel@rothwellfigg.com
                               klogan@rothwellfigg.com

                               Attorneys for Plaintiff
                               The New York Times Company

                               /s/ Steven Lieberman
                               Steven Lieberman (SL8687)
                               Jennifer B. Maisel (5096995)
                               Robert Parker (pro hac vice)
                               Jenny L. Colgate (pro hac vice)
                               Mark Rawls (pro hac vice)
                               Kristen J. Logan (pro hac vice)
                               Bryan B. Thompson (6004147)
                               ROTHWELL, FIGG, ERNST & MANBECK, P.C.
                               901 New York Avenue, N.W., Suite 900 East
                               Washington, DC 20001
                               Telephone: (202) 783-6040
                               Facsimile: (202) 783-6031
                               slieberman@rothwellfigg.com
                               jmaisel@rothwellfigg.com
                               rparker@rothwellfigg.com
                               jcolgate@rothwellfigg.com
                               mrawls@rothwellfigg.com
                               klogan@rothwellfigg.com
                               bthompson@rothwellfigg.com




                                 6
Case 1:23-cv-11195-SHS-OTW   Document 474     Filed 03/18/25     Page 8 of 13




                               Jeffrey A. Lindenbaum (JL1971)
                               ROTHWELL, FIGG, ERNST & MANBECK, P.C.
                               3 Manhattanville Road, Suite 105
                               Purchase, New York 10577
                               Telephone: (202) 783-6040
                               Facsimile: (202) 783-6031
                               jlindenbaum@rothwellfigg.com

                               Attorneys for Plaintiffs
                               Daily News, LP; The Chicago Tribune Company,
                               LLC; Orlando Sentinel Communications
                               Company, LLC; Sun-Sentinel Company, LLC;
                               San Jose Mercury-News, LLC; DP Media
                               Network, LLC; ORB Publishing, LLC; and
                               Northwest Publications, LLC

                               /s/ Matthew Topic
                               Jonathan Loevy (pro hac vice)
                               Michael Kanovitz (pro hac vice)
                               Lauren Carbajal (pro hac vice)
                               Stephen Stich Match (No. 5567854)
                               Matthew Topic (pro hac vice)
                               Thomas Kayes (pro hac vice)
                               Steven Art (pro hac vice)
                               Kyle Wallenberg (pro hac vice)

                               LOEVY & LOEVY
                               311 North Aberdeen, 3rd Floor
                               Chicago, IL 60607
                               312-243-5900 (p)
                               312-243-5902 (f)
                               jon@loevy.com
                               mike@loevy.com
                               carbajal@loevy.com
                               match@loevy.com
                               matt@loevy.com
                               steve@loevy.com
                               kayes@loevy.com
                               wallenberg@loevy.com

                               Attorneys for Plaintiff
                               The Center for Investigative Reporting, Inc.




                                  7
Case 1:23-cv-11195-SHS-OTW   Document 474     Filed 03/18/25     Page 9 of 13




                               /s/ Jared B. Briant
                               Jared B. Briant (admitted pro hac vice)
                               Kirstin L. Stoll-DeBell (admitted pro hac vice)
                               FAEGRE DRINKER BIDDLE & REATH LLP
                               1144 Fifteenth Street, Suite 3400
                               Denver, CO 80202
                               Telephone: (303) 607-3500
                               Facsimile: (303) 607-3600
                               Email: jared.briant@faegredrinker.com
                               Email: kirstin.stolldebell@faegredrinker.com
                               Annette L. Hurst (admitted pro hac vice)
                               ORRICK, HERRINGTON & SUTCLIFFE LLP
                               The Orrick Building
                               405 Howard Street
                               San Francisco, CA 94105-2669
                               Telephone: (415) 773-5700
                               Facsimile: (415) 773-5759
                               Email: ahurst@orrick.com
                               Christopher Cariello
                               Marc Shapiro
                               ORRICK, HERRINGTON & SUTCLIFFE LLP
                               51 West 52nd Street
                               New York: NY 10019
                               Telephone: (212) 506-3778
                               Facsimile: (212) 506-5151
                               Email: ccariello@orrick.com
                                      mrshapiro@orrick.com

                               Sheryl Koval Garko (admitted pro hac vice)
                               Laura Brooks Najemy (admitted pro hac vice)
                               ORRICK, HERRINGTON & SUTCLIFFE LLP
                               222 Berkeley Street, Suite 2000
                               Boston, MA 02116
                               Telephone: (617) 880-1800
                               Facsimile: (617) 8801-1801
                               Email: sgarko@orrick.com
                                      lnajemy@orrick.com

                               Carrie A. Beyer (admitted pro hac vice)
                               FAEGRE DRINKER BIDDLE & REATH LLP
                               320 South Canal Street, Suite 3300
                               Chicago, IL 60606-5707
                               Telephone: (312) 569-1000
                               Facsimile: (312) 569-3000
                               Email: carrie.beyer@faegredrinker.com


                                  8
 Case 1:23-cv-11195-SHS-OTW   Document 474       Filed 03/18/25   Page 10 of 13




                                 Jeffrey S. Jacobson
                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                 1177 Avenue of the Americas, 41st Floor
                                 New York, New York 10036
                                 Telephone: (212) 248-3140
                                 Facsimile: (212) 248-3141
                                 Email: jeffrey.jacobson@faegredrinker.com

                                 Elizabeth M.C. Scheibel (admitted pro hac vice)
                                 FAEGRE DRINKER BIDDLE & REATH LLP
                                 2200 Wells Fargo Center, 90 S. 7th Street
                                 Minneapolis, MN 55402
                                 Telephone: (612) 766-7000
                                 Facsimile: (612) 766-1600
                                 Email: elizabeth.scheibel@faegredrinker.com

                                 Attorneys for Defendant Microsoft Corporation


                                        KEKER, VAN NEST & PETERS LLP
Dated: March 18, 2025

                                 By: /s/ Paven Malhotra
                                     ROBERT A. VAN NEST (pro hac vice)
                                     R. JAMES SLAUGHTER (pro hac vice)
                                     PAVEN MALHOTRA - # 4409397
                                     MICHELLE S. YBARRA (pro hac vice)
                                     NICHOLAS S. GOLDBERG (pro hac vice)
                                     THOMAS E. GORMAN (pro hac vice)
                                     KATIE LYNN JOYCE (pro hac vice)
                                     633 Battery Street
                                     San Francisco, CA 94111-1809
                                     Telephone: 415 391 5400
                                     Facsimile: 415 397 7188
                                     rvannest@keker.com
                                     rslaughter@keker.com
                                     pmalhotra@keker.com
                                     mybarra@keker.com
                                     ngoldberg@keker.com
                                     tgorman@keker.com
                                     kjoyce@keker.com

                                        Attorneys for Defendants OPENAI, INC.,
                                        OPENAI LP, OPENAI GP, LLC,
                                        OPENAI,
                                        LLC, OPENAI OPCO LLC, OPENAI
                                        GLOBAL LLC, OAI CORPORATION,
                                        LLC, OPENAI HOLDINGS, LLC

                                    9
 Case 1:23-cv-11195-SHS-OTW   Document 474     Filed 03/18/25      Page 11 of 13




Dated: March 18, 2025                LATHAM & WATKINS LLP



                                 By: /s/ Elana Nightingale Dawson
                                     Andrew M. Gass (pro hac vice)
                                      andrew.gass@lw.com
                                     Joseph R. Wetzel
                                      joseph.wetzel@lw.com
                                     505 Montgomery Street, Suite 2000
                                     San Francisco, CA 94111
                                     Telephone: 415.391.0600

                                     Sarang V. Damle
                                      sy.damle@lw.com
                                     Elana Nightingale Dawson (pro hac vice)
                                      elana.nightingaledawson@law.com
                                     Michael David (pro hac vice)
                                      michael.david@law.com
                                     555 Eleventh Street, NW, Suite 1000
                                     Washington, D.C. 20004
                                     Telephone: 202.637.2200

                                     Allison L. Stillman
                                      alli.stillman@lw.com
                                     Rachel R. Blitzer
                                      rachel.blitzer@lw.com
                                     Herman Yue
                                      herman.yue@lw.com
                                     Luke A. Budiardjo
                                      luke.budiardjo@lw.com
                                     1271 Avenue of the Americas
                                     New York, NY 10020
                                     Telephone: 212.906.1200

                                     Attorneys for OpenAI Defendants




                                   10
 Case 1:23-cv-11195-SHS-OTW   Document 474     Filed 03/18/25    Page 12 of 13




Dated: March 18, 2025                MORRISON & FOERSTER LLP



                                 By: /s/ Rose S. Lee
                                     Joseph C. Gratz (pro hac vice)
                                      jgratz@mofo.com
                                     425 Market Street
                                     San Francisco, CA 94105-2482
                                     Telephone: 415.268.7000

                                     Rose S. Lee (pro hac vice)
                                      rose.lee@mofo.com
                                     707 Wilshire Boulevard, Suite 6000
                                     Los Angeles, California 90017-3543
                                     Telephone: 213.892.5200

                                     Eric K. Nikolaides
                                      enikolaides@mofo.com
                                     Emily C. Wood
                                      ewood@mofo.com
                                     250 West 55th Street
                                     New York, NY 10019-9601
                                     Telephone: 212.468.8000

                                     Carolyn Homer (pro hac vice)
                                      chomer@mofo.com
                                     2100 L Street, NW Suite 900
                                     Washington, D.C. 20038
                                     Telephone: 202.887.1500

                                     Attorneys for OpenAI Defendants




                                   11
 Case 1:23-cv-11195-SHS-OTW   Document 474   Filed 03/18/25   Page 13 of 13




SO ORDERED.

                                 _____________________________
                                 ONA T. WANG
                                 United States Magistrate Judge

Dated: 3/18/2025
New York, New York




                                   12
